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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


UNIFIRST CORPORATION,

                       Plaintiff,

       v.
                                                        Civil Action No. 1:22-cv-10819-PBS
ACE AMERICAN INSURANCE
COMPANY,

                       Defendant.



                 STIPULATION OF DISMISSAL WITHOUT PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff UniFirst

Corporation and Defendant ACE American Insurance Company, by their undersigned counsel,

hereby stipulate and agree that all claims in the above-captioned matter, and thus this case in its

entirety, are hereby dismissed without prejudice, each party to bear its own costs, with the parties’

respective rights governing the refiling of this action to be governed by a separate agreement.



 Dated: September 20, 2022                         Respectfully submitted,

 UNIFIRST CORPORATION                              ACE AMERICAN INSURANCE COMPANY

 By: /s/ Steven J. Pacini                          By: /s/ Kurt M. Mullen
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                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document, which was filed with the Court through the
CM/ECF system, will be sent electronically to all registered participants as identified on the Notice
of Electronic Filing (“NEF”), and paper copies will be sent on September 20, 2022 to those
identified as non-registered participants.

                                                      /s/ Steven J. Pacini
                                                      Steven J. Pacini




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